Case 1:19-cv-00578-JMS-RT Document 114-1 Filed 09/13/21 Page 1 of 25 PageID.1052



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                IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF HAWAII

  TODD YUKUTAKE and DAVID           )
  KIKUKAWA                          )
                                    )
  Plaintiffs,                       )
                                    ) Civil Action No. 19-578 (JMS-RT)
  v.                                )
                                    )
  CLARE E. CONNORS, in her          ) MEMORANDUM IN OPPOSITION
  Official Capacity as the Attorney ) TO DEFENDANT’S MOTION TO
  General of the State of Hawaii    ) STAY [113]
                                    )
                                    )
                                    )    JUDGE: Hon. J. Michael Seabright
                                    )
  Defendants.                       )
  _______________________________)

                    MEMORANDUM IN OPPOSITION TO
                     DEFENDANT’S MOTION TO STAY
Case 1:19-cv-00578-JMS-RT Document 114-1 Filed 09/13/21 Page 2 of 25 PageID.1053



                                               TABLE OF CONTENTS


  TABLE OF AUTHORITIES ................................................................................... iii
  I. Introduction ..........................................................................................................1
  II.       Legal Standard ..................................................................................................2
  III.      Argument ..........................................................................................................3
    A. This Court Should Not Grant A Stay Pending Appeal.....................................3
         1. The Defendant Has Not Demonstrated a Likelihood of Success on the
         Merits....................................................................................................................3
         2. Irreparable Harm ...........................................................................................6
         3. The Balance of the Equities Favors the Plaintiffs .......................................13
         4. The Public Interest Does Not Favor a Stay Pending Appeal ......................17
  IV.       No Legislative “Fix”.......................................................................................19
  V.        Conclusion ......................................................................................................20




                                                                  ii
Case 1:19-cv-00578-JMS-RT Document 114-1 Filed 09/13/21 Page 3 of 25 PageID.1054



                                          TABLE OF AUTHORITIES

  Cases
  Alanoa Nickel v. Clare E. Connors, et al.,1:20-cv-00330-JMS-RT ........................20
  Alliance for the Wild Rockies v. Cottrell, 632 F.3d 1127 (9th Cir. 2011) ...............13
  Am. Bev. Ass'n v. City & Cty. of S.F., 916 F.3d 749 (9th Cir. 2019) .......................17
  Am. Trucking Ass'ns v. City of L.A., 559 F.3d 1046 (9th Cir. 2009) .........................6
  Ariz. Dream Act Coalition v. Brewer, 757 F.3d 1053 (9th Cir. 2014) ............. 11, 17
  Baker v. Kealoha, 1:11-cv-528-ACK-KSC .........................................................1, 13
  City of Los Angeles v. Alameda Books, Inc., 535 U.S. 425, 122 S. Ct. 1728, 152 L.
    Ed. 2d 670 (2002) ....................................................................................................4
  Coal. for Econ. Equity v. Wilson, 122 F.3d 718 (9th Cir. 1997) ...............................7
  District of Columbia v. Heller, 554 U.S. 570, 128 S. Ct. 2783 (2008) .....................8
  Douglas v. Indep. Living Ctr. of S. California, Inc., 565 U.S. 606, 132 S. Ct. 1204,
    182 L. Ed. 2d 101 (2012) ........................................................................................7
  Duncan v. Becerra, 366 F. Supp. 3d 1131 (S.D. Cal. 2019) .....................................9
  Duncan v. Becerra, No. 17-cv-1017-BEN-JLB, 2019 U.S. Dist. LEXIS 63045
    (S.D. Cal. Apr. 4, 2019) ..........................................................................................8
  Elrod v. Burns, 427 U.S. 347, 96 S. Ct. 2673, 49 L. Ed. 2d 547 (1976) .................12
  Ezell v. City of Chi., 651 F.3d 684 (7th Cir. 2011) ..................................................12
  Fisher v. Kealoha, No. 11-00589 ACK-BMK, 2012 U.S. Dist. LEXIS 90734 (D.
    Haw. June 29, 2012)............................................................................. 2, 12, 17, 19
  Fotoudis v. City & Cty. of Honolulu, 54 F. Supp. 3d 1136 (D. Haw. 2014) ... 12, 13,
    17, 19, 20
  Heller v. Dist. of Columbia, 801 F.3d 264, (D.C. Cir. 2015) (Heller III) .................6
  Hernandez v. Sessions, 872 F.3d 976 (9th Cir. 2017) .............................................12
  Hilton v. Braunskill, 481 U.S. 770, 107 S. Ct. 2113, 95 L. Ed. 2d 724 (1987) .........2

                                                            iii
Case 1:19-cv-00578-JMS-RT Document 114-1 Filed 09/13/21 Page 4 of 25 PageID.1055



  Indep. Living Ctr. of S. California, Inc. v. Maxwell-Jolly, 572 F.3d 644 (9th Cir.
    2009)........................................................................................................................7
  Jackson v. City & Cty. of S.F., 746 F.3d 953 (9th Cir. 2014)........................... 1, 4, 5
  Klein v. City of San Clemente, 584 F.3d 1196 (9th Cir. 2009) ................................17
  Lair v. Bullock, 697 F.3d 1200 (9th Cir. 2012) .........................................................3
  Latta v. Otter, 771 F.3d 496 (9th Cir. 2014) ..............................................................7
  Leiva-Perez v. Holder, 640 F.3d 962 (9th Cir. 2011) ................................................3
  Lydo Enters. v. Las Vegas, 745 F.2d 1211 (9th Cir. 1984) .....................................14
  Maryland v. King, 567 U.S. 1301, 133 S.Ct. 1, 3, 183 L. Ed. 2d 667 (2012) ...........7
  McDonald v. City of Chi., 561 U.S. 742, 130 S. Ct. 3020 (2010) .............................8
  Melendres v. Arpaio, 695 F.3d 990 (9th Cir. 2012) ................................................12
  New Motor Vehicle Bd. v. Orrin W. Fox Co., 434 U.S. 1345, 98 S. Ct. 359 (1977).7
  Nken v. Holder, 556 U.S. 418 (2009) .......................................................................2
  Oakland Tribune, Inc. v. Chronicle Pub. Co., 762 F.2d 1374 (9th Cir. 1985)........15
  Parker v. District of Columbia, 311 F. Supp. 2d 103 (D.D.C. 2004) ......................16
  Parker v. District of Columbia, 375 U.S. App. D.C. 140, 478 F.3d 370, 378 (2007)
    ...............................................................................................................................16
  Preminger v. Principi, 422 F.3d 815 (9th Cir. 2005) ..............................................17
  Tribal Village of Akutan v. Hodel, 859 F.2d 662 (9th Cir. 1988)..............................1
  United States v. Windsor, 570 U.S. 744, 133 S. Ct. 2675 (2013) ............................13
  Univ. of Tex. v. Camenisch, 451 U.S. 390, 101 S. Ct. 1830 (1981) ................. 15, 16
  Valle del Sol Inc. v. Whiting, 732 F.3d 1006 (9th Cir. 2013) ..................... 11, 13, 17
  Virginian Ry. Co. v. United States, 272 U.S. 658, 47 S. Ct. 222, 71 L. Ed. 463
    (1926) ......................................................................................................................2
  Winter v. NRDC, Inc., 555 U.S. 7, 129 S. Ct. 365 (2008) ...................................2, 15
  Young v. Hawaii, 992 F.3d 765 (9th Cir. 2021)......................................................11


                                                                 iv
Case 1:19-cv-00578-JMS-RT Document 114-1 Filed 09/13/21 Page 5 of 25 PageID.1056



  Yukutake v. Conners, No. 19-00578 JMS-RT, 2021 U.S. Dist. LEXIS 153586 (D.
    Haw. Aug. 16, 2021) ...............................................................................................4
  Zimmerman v. Oregon Dept. of J., 170 F.3d 1169 (9th Cir. 1999) ...........................6

  Statutes
  H.R.S. § 134-2................................................................................................... 19, 20

  Other Authorities
  State of Haw., Dep't of the Att'y Gen., Opinion Letter No. 18-1, Availability of
    Unconcealed-Carry Licenses (Sept. 11, 2018) (https://ag.hawaii.gov/wp-
    content/uploads/2018/09/AG-Opinion-No.-18-1.pdf) (Att'y Gen. Letter) ...........11

  Rules
  Fed. R. Civ. Pro. 65(b) .............................................................................................15




                                                             v
Case 1:19-cv-00578-JMS-RT Document 114-1 Filed 09/13/21 Page 6 of 25 PageID.1057



        Come now the Plaintiffs, by and through counsel of record, and for their

  response to Defendant’s Motion to Stay (“the Motion”), show unto the Court the

  following:

                                    I.     Introduction

        Plaintiffs do not disagree with the Defendant’s recitation of the procedural

  posture of the case and the filings which have taken place so far on the docket.

  Plaintiffs, however, fully disagree that Defendant is entitled to a stay pending appeal

  or an administrative stay or even a temporary stay pending a motion to the Ninth

  Circuit.

     As discussed in detail below, there are four stay factors, each of which Defendant

  must demonstrate she satisfies to qualify for a stay. The Defendant cannot even

  satisfy the first prong which is to demonstrate a likelihood of success of the merits.

  “The standard for determining whether to grant a stay pending appeal is similar to

  the standard for issuing a preliminary injunction.” See Baker v. Kealoha, 1:11-cv-

  528-ACK-KSC at 4. [Docket #63] (citing Tribal Village of Akutan v. Hodel, 859

  F.2d 662, 663 (9th Cir. 1988). Therefore, this inquiry should end there. See Jackson

  v. City & Cty. of S.F., 746 F.3d 953, 970 (9th Cir. 2014) (“We therefore conclude

  that Jackson has not carried her burden of showing she is likely to succeed on the

  merits. Accordingly, we need not reach the remaining preliminary injunction

  factors.”)


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Case 1:19-cv-00578-JMS-RT Document 114-1 Filed 09/13/21 Page 7 of 25 PageID.1058



         Instead, Defendant presents to this court an article about ammunition

  magazines which has nothing to do with the instant laws being found

  unconstitutional and violative of Plaintiffs’ Second Amendment rights. Moreover,

  the Defendant also fails the other three prongs of the test to grant a stay as shown

  below. This Court should not stay this case because the Defendant has failed make

  the requisite showing under the applicable standards.

                                      II.    Legal Standard

      “A stay is not a matter of right. . . . It is instead 'an exercise of judicial discretion'

  . . . [that] 'is dependent upon the circumstances of the particular case.’” [Nken v.

  Holder, 556 U.S. 418, 433 (2009)] (internal citations omitted) (quoting Virginian

  Ry. Co. v. United States, 272 U.S. 658, 672-73, 47 S. Ct. 222, 71 L. Ed. 463 (1926)).

  Judicial discretion in exercising a stay is to be guided by the following legal

  principles, as distilled into a four factor analysis in Nken: ‘(1) whether the stay

  applicant has made a strong showing that he is likely to succeed on the merits; (2)

  whether the applicant will be irreparably injured absent a stay; (3) whether issuance

  of the stay will substantially injure the other parties interested in the proceeding; and

  (4) where the public interest lies.’ Id. at 434 (citing Hilton v. Braunskill, 481 U.S.

  770, 776, 107 S. Ct. 2113, 95 L. Ed. 2d 724 (1987)).1 ‘The party requesting a stay


  1
    See Fisher v. Kealoha, No. 11-00589 ACK-BMK, 2012 U.S. Dist. LEXIS 90734,
  at *16-17 (D. Haw. June 29, 2012). “Pursuant to the standard set forth in Winter,
  even where a likelihood of success on the merits is established, a mere possibility of
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Case 1:19-cv-00578-JMS-RT Document 114-1 Filed 09/13/21 Page 8 of 25 PageID.1059



  bears the burden of showing that the circumstances justify an exercise of [this

  Court's] discretion.’ Id. at 433-34.” Lair v. Bullock, 697 F.3d 1200, 1203 (9th Cir.

  2012). “At a minimum, a petitioner must show that there is a substantial case for

  relief on the merits.” Lair, 697 F.3d at 1204 (citing Leiva-Perez v. Holder, 640 F.3d

  962, 966 (9th Cir. 2011) (per curiam) (punctuation omitted).

                                      III.   Argument

  A. This Court Should Not Grant A Stay Pending Appeal

        1. The Defendant Has Not Demonstrated a Likelihood of Success on the
           Merits

        The Defendant has not demonstrated that she has a likelihood of success on

  the merits or that she has a substantial case for relief on the merits. Instead,

  Defendant largely reurges the same arguments made in her Cross Motion for

  Summary Judgment. Compare Motion to Stay p.9 [PageId # 1031] to Def.’s Cross-

  Motion p.14 [PageID #714-715]. The Defendant then states that “[e]ven if this Court

  ultimately disagrees with Defendant’s arguments, Defendant has at least shown that

  ‘serious legal questions’ exist or that a ‘substantial case’ exists as to whether public

  safety would be ‘achieved less effectively’ absent the challenged permitting and



  irreparable injury is insufficient to warrant preliminary injunctive relief, because
  ‘[i]ssuing a preliminary injunction based only on a possibility of irreparable harm is
  inconsistent with [the Supreme Court's] characterization of injunctive relief as an
  extraordinary remedy that may only be awarded upon a clear showing that the
  plaintiff is entitled to such relief’).”
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Case 1:19-cv-00578-JMS-RT Document 114-1 Filed 09/13/21 Page 9 of 25 PageID.1060



  registration requirements.” Defendant stated that “intermediate scrutiny should be

  applied.” Motion to Stay p.9 [PageId # 1031].

           This Court already rejected Defendant’s arguments in its Opinion granting

  Plaintiffs’ Motion for Summary Judgment. But this Court did agree with Defendant

  in applying intermediate scrutiny. See Opinion p.2 [PageID # 980]. The Defendant

  has not put forth any effort into demonstrating how this Court’s Opinion is legally

  incorrect, instead the Defendant copies and pastes from her Cross Motion arguments

  which this Court has already considered and disposed of.

           Under intermediate scrutiny, in order to determine a reasonable fit “we review

  the legislative history of the enactment as well as studies in the record or cited in

  pertinent case law.” Jackson, 746 F.3d at 969. “Of course, the municipality's

  evidence must fairly support the municipality's rationale for its ordinance, City of

  Los Angeles v. Alameda Books, Inc., 535 U.S. 425, 438, 122 S. Ct. 1728, 152 L. Ed.

  2d 670 (2002) (plurality), and courts should not credit facially implausible legislative

  findings.” Jackson, 746 F.3d at 969. (punctuation omitted).

           Unlike the “ample evidence”2 that the laws at issue in Jackson promoted

  public safety, here, the Defendant failed to produce “any evidence” that the laws at

  issue promoted public safety. Yukutake v. Conners, No. 19-00578 JMS-RT, 2021

  U.S. Dist. LEXIS 153586, at *17 (D. Haw. Aug. 16, 2021). “Indeed, as the


  2
      Jackson v. City & Cty. of S.F., 746 F.3d 953, 966 (9th Cir. 2014)
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Case 1:19-cv-00578-JMS-RT Document 114-1 Filed 09/13/21 Page 10 of 25 PageID.1061



  Government conceded during oral argument, its arguments boil down to simple

  ‘common sense.’” Id. Even when asked by this Court whether it could produce

  additional evidence at trial to support either of its laws, the Defendant expressly

  stated she could not.3 Even in its Motion to Stay, the Defendant produces no

  evidence and instead relies on a conclusory statement from a House Journal

  discussing registration in general. That statement does not show how or why the

  laws at issue here promote public safety. That is not enough to satisfy intermediate

  scrutiny. And in its Motion to Stay, the Defendant expressly concedes that this Court

  was correct in applying intermediate scrutiny. See Motion at *9. (“Consequently,

  intermediate scrutiny should be applied”). Therefore, the Ninth Circuit will apply at

  least that on appeal.

        As to both laws, the Defendant has failed to make a substantial case that the

  result will be any different on appeal. Unlike Jackson which the Defendant relies

  on, and every other Ninth Circuit case which has upheld a weapons law under

  intermediate scrutiny, here, the Defendant failed to produce any evidence that the

  expiry date promotes public safety. And that is what circuit precedent demands.




  3
    After Defendant represented that she would appeal the Court’s decision, the
  Plaintiffs ordered a transcript of the summary judgment hearing. However, Plaintiffs
  do not have it in their possession at the time of filing this opposition, and thus, do
  not have a record citation to the transcript.
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Case 1:19-cv-00578-JMS-RT Document 114-1 Filed 09/13/21 Page 11 of 25 PageID.1062



  Therefore, the Defendant has failed in her duty to make a substantial case that the

  result will be different on appeal. Thus, the stay should be denied.

        As to the specific issue of the bring-your-gun-to-the-station requirement, an

  identical requirement was already struck down by the D.C. Court of Appeals in

  Heller v. Dist. of Columbia, 801 F.3d 264, (D.C. Cir. 2015) (Heller III). To put it

  bluntly, not only does the Defendant not have a likelihood of success on the merits,

  the Ninth Circuit, would have to create a circuit split in order to rule in favor of

  Defendant on the in-person registration issue. And the Ninth Circuit has warned

  against creating circuit splits and is “hesitant to create such a split, and we do so only

  after the most painstaking inquiry…” Zimmerman v. Oregon Dept. of J., 170 F.3d

  1169, 1184 (9th Cir. 1999).

        Because the Defendant has utterly failed to demonstrate how this Court’s

  eminently correct opinion might be overturned on appeal, she fails to satisfy the first

  prong of the stay test. And this Court’s inquire should end here. However, if this

  Court is inclined to analyze the next stay factor, it should find that the Defendant has

  completely failed to make a showing of irreparable harm.

        2. Irreparable Harm
        “[A]n injunction cannot issue merely because it is possible that there will be

  an irreparable injury to the plaintiff; it must be likely that there will be”. Am.

  Trucking Ass'ns v. City of L.A., 559 F.3d 1046, 1052 (9th Cir. 2009). By analogy the


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Case 1:19-cv-00578-JMS-RT Document 114-1 Filed 09/13/21 Page 12 of 25 PageID.1063



  same applies to a stay. Defendant cites to Coal. for Econ. Equity v. Wilson, 122 F.3d

  718, 719 (9th Cir. 1997) for the proposition that “a state suffers irreparable injury

  whenever an enactment of its people or their representatives is enjoined.” This

  statement comes from then-Justice Rehnquist ruling on an application for a stay from

  chambers, and not a pronouncement from the Supreme Court. Justice Rehnquist

  stated that, “[i]t also seems to me that any time a State is enjoined by a court from

  effectuating statutes enacted by representatives of its people, it suffers a form of

  irreparable injury.” New Motor Vehicle Bd. v. Orrin W. Fox Co., 434 U.S. 1345,

  1351, 98 S. Ct. 359, 363 (1977) (Per Rehnquist, J., as Circuit Justice).

        Yet, as Judge Benitez stated:

        The Ninth Circuit, however, has never adopted this view. Latta v. Otter,
        771 F.3d 496, 500 n.1 (9th Cir. 2014) (“Individual justices, in orders
        issued from chambers, have expressed the view that a state suffers
        irreparable injury when one of its laws is enjoined. See Maryland v.
        King, 567 U.S. 1301, 133 S.Ct. 1, 3, 183 L. Ed. 2d 667 (2012) (Roberts,
        C.J., in chambers); New Motor Vehicle Bd. of California v. Orrin W.
        Fox Co., 434 U.S. 1345, 1351, 98 S. Ct. 359, 54 L. Ed. 2d 439 (1977)
        (Rehnquist, J., in chambers). No opinion for the Court adopts this
        view.”).

        The Attorney General may be correct, but it does not end the inquiry.
        “As the cited authority suggests, a state may suffer an abstract form of
        harm whenever one of its acts is enjoined. To the extent that is true,
        however, it is not dispositive of the balance of harms analysis. If it were,
        then the rule requiring ‘balance’ of ‘competing claims of injury’ would
        be eviscerated.” Indep. Living Ctr. of S. California, Inc. v. Maxwell-
        Jolly, 572 F.3d 644, 658 (9th Cir. 2009), vacated on other grounds and
        remanded sub nom. Douglas v. Indep. Living Ctr. of S. California, Inc.,
        565 U.S. 606, 132 S. Ct. 1204, 182 L. Ed. 2d 101 (2012). “Federal
        courts instead have the power to enjoin state actions, in part, because

                                             7
Case 1:19-cv-00578-JMS-RT Document 114-1 Filed 09/13/21 Page 13 of 25 PageID.1064



        those actions sometimes offend federal law provisions [or in this case,
        one of the Bill of Rights], which, like state statutes, are themselves
        'enactments of its people or their representatives.'" Id. (emphasis in
        original) (citation omitted).

  Duncan v. Becerra, No. 17-cv-1017-BEN-JLB, 2019 U.S. Dist. LEXIS 63045, at

  *4-5 (S.D. Cal. Apr. 4, 2019).

        If this Court adopts the Defendant’s theory, then a stay pending appeal should

  always be granted. That would mean that no plaintiff would receive the relief he has

  been granted until a lengthy appeals process is concluded. This is not the law. And

  adopting such a rule would make for bad public policy because a plaintiff who has

  demonstrated in court that his or her constitutional rights have been (and are being)

  violated deserves to have those violations enjoined.

        The Defendant attempts to cast the Court’s Opinion as creating “chaos for the

  State of Hawaii and all four counties.” See Motion at p. 11 [PageID #1033]. How

  so? The Defendant claims that this Opinion “will encourage more people to apply

  for permits and registrations.” Id. This statement is shocking because we are dealing

  with an enumerated fundamental right. The Supreme Court held that “… the

  American people have considered the handgun to be the quintessential self-defense

  weapon.” District of Columbia v. Heller, 554 U.S. 570, 629, 128 S. Ct. 2783, 2818

  (2008). The Defendant is worried that more people will apply for permission to

  exercise a right found to be a “fundamental right[] necessary to our system of ordered

  liberty.” McDonald v. City of Chi., 561 U.S. 742, 778, 130 S. Ct. 3020, 3042 (2010).

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Case 1:19-cv-00578-JMS-RT Document 114-1 Filed 09/13/21 Page 14 of 25 PageID.1065



  This case is not about eliminating background checks or the already burdensome

  permit system Hawaii employs. It is about two discrete areas of Hawaii law, one of

  which just became law in 2020.4

        Then, the Defendant cautions that the “county police departments will not be

  able to handle the influx of new applications, especially during a pandemic.” Motion

  at p. 11 [PageID #1033] (which at this point is unsubstantiated speculation on the

  part of Defendant because the judgment has not been entered). However, the Court’s

  Opinion alleviates a big portion of this “problem” because now, the county police

  departments will not be burdened with the additional staff time required to inspect a

  firearm, thus allowing them to process additional applications. Additionally, the

  county police departments will not be burdened with permits to acquire becoming

  automatically voided by expiration of the ten-day validity period and those

  individuals having to reapply and use more police resources. And to top it off, the

  county police departments will now be even less subjected to exposure of potential

  COVID issues because it will not have to expose their staffs to individuals coming

  back again and again for registration or additional visits.

        The Defendant cites to Duncan v. Becerra, 366 F. Supp. 3d 1131 (S.D. Cal.

  2019), a law which found unconstitutional California’s ban on “Large Capacity



  4
   See footnote 5 of the Court’s Opinion, acknowledging that the prior law did not
  “expressly require in-person registration of firearms.” [PageID #983].
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Case 1:19-cv-00578-JMS-RT Document 114-1 Filed 09/13/21 Page 15 of 25 PageID.1066



  Magazines” (“LCM”).        Motion at p. 11 [PageID #1033]. But that case is a

  completely different type of case, as LCMs are not registered, do not undergo a 14-

  day background check, and have no relation to the instant case whatsoever. The

  Defendant’s inclusion of this is a red herring because even if the judgment in this

  case is entered today, Hawaiians still will undergo the mandatory 14-day background

  check and waiting period and will still be required to do all of the other things Hawaii

  law mandates, including being entered into the Rap Back database. The Court need

  not worry that millions of handguns are going to be shipped to Hawaii because in-

  person registration and the ten-day expiration of a permit is found unconstitutional

  and the Defendant’s attempt at implying that the issues are even remotely similar is

  disingenuous.

        Additionally, the Defendant posits that “[p]olice officials may start treating

  permits to acquire as being valid indefinitely.” Motion at p. 12 [PageID #1034].

  Well, as the Defendant stated in her Cross-Motion for Summary Judgment, “each

  permit is good for only one thing” and “a separate application and permit is required

  for each transaction.” See Def.’s Cross Motion, p. 14 [PageID # 715]. It strains

  credulity that a person is going to go purchase a handgun, go through the 14-day

  waiting period, receive a permit to acquire, pick up the permit to acquire, and then…

  not pick up the firearm they already paid for and waited for after taking off time

  from work to go through the laborious process. And, as the Defendant admitted in


                                            10
Case 1:19-cv-00578-JMS-RT Document 114-1 Filed 09/13/21 Page 16 of 25 PageID.1067



  her Cross-Motion, that permit to acquire “is only good for one thing”, and that is to

  purchase the handgun that the permit authorizes the person to purchase.

        Defendant complains that it “is also likely that, whatever each county police

  department decides to do, the standards will vary between the counties.” See Motion

  at p. 12 [PageID # 1034]. As the Attorney General, the Defendant is in the prime

  position to clarify what she believes the law is after the judgment is issued. The

  previous Attorney General did just that when Young v. State of Hawaii was pending

  en banc in the Ninth Circuit.5

        The Plaintiffs’, on the other hand, will suffer irreparable harm if the stay is

  granted. Plaintiffs suffer from “’an irreparable injury’ — he has been deprived of a

  constitutionally-protected right. See, e.g., Valle del Sol Inc. v. Whiting, 732 F.3d

  1006, 1029 (9th Cir. 2013) (reiterating that ‘an alleged constitutional infringement

  will often alone constitute irreparable harm’) (citation omitted); Ariz. Dream Act

  Coalition v. Brewer, 757 F.3d 1053, 2014 WL 3029759, at *11 (9th Cir. 2014)

  (upholding finding of likelihood of irreparable harm upon violation of equal



  5
   See Young v. Hawaii, 992 F.3d 765, 776 (9th Cir. 2021) “After this litigation began,
  the Hawai'i Attorney General issued a formal opinion interpreting § 134-9's
  requirements and clarified that § 134-9 does not reserve open-carry permits to
  security guards. See State of Haw., Dep't of the Att'y Gen., Opinion Letter No. 18-
  1, Availability of Unconcealed-Carry Licenses (Sept. 11, 2018)
  (https://ag.hawaii.gov/wp-content/uploads/2018/09/AG-Opinion-No.-18-1.pdf)
  (Att'y Gen. Letter).”

                                           11
Case 1:19-cv-00578-JMS-RT Document 114-1 Filed 09/13/21 Page 17 of 25 PageID.1068



  protection, and stating that ‘[i]rreparable harm is traditionally defined as harm for

  which there is no adequate legal remedy, such as an award of damages’)” Fotoudis

  v. City & Cty. of Honolulu, 54 F. Supp. 3d 1136, 1145 (D. Haw. 2014).

         “It is well established that the deprivation of constitutional rights

  ‘unquestionably constitutes irreparable injury.’” Melendres v. Arpaio, 695 F.3d 990,

  1002 (9th Cir. 2012) (quoting Elrod v. Burns, 427 U.S. 347, 373, 96 S. Ct. 2673, 49

  L. Ed. 2d 547 (1976)).” Hernandez v. Sessions, 872 F.3d 976, 994-95 (9th Cir. 2017).

  See also Ezell v. City of Chi., 651 F.3d 684, 700 (7th Cir. 2011) (a deprivation of the

  right to arms is “irreparable and having no adequate remedy at law”). “At issue in

  this litigation is the alleged infringement of Plaintiff's right to bear arms for self-

  defense within the home, the very right that the Ezell court considered.” Fisher v.

  Kealoha, No. 11-00589 ACK-BMK, 2012 U.S. Dist. LEXIS 90734, *40 (D. Haw.

  June 29, 2012). Because this Court found the two provisions at issue are

  unconstitutional, there is no question that the Plaintiffs’ rights are being violated by

  these two provisions. A stay impermissibly prolongs these constitutional violations.

        It is the Defendant which has not shown a likelihood of irreparable harm. Her

  “evidence” consists of what happened during a completely inapposite situation in

  California regarding ammunition magazines and a concern that more people will

  exercise their constitutional rights. And then an extremely farfetched hypothetical

  where the County Police will start registering weapons which are still illegal under


                                            12
Case 1:19-cv-00578-JMS-RT Document 114-1 Filed 09/13/21 Page 18 of 25 PageID.1069



  other provisions of Hawaii law. The Counties did not inadvertently begin allowing

  illegal aliens to own firearms after this Court’s ruling in Fotoudis v. City & Cty. of

  Honolulu, 54 F. Supp. 3d 1136 (D. Haw. 2014). There is no reason to believe that

  they will begin allowing the registration of illegal firearms after this ruling. The

  Defendant’s rationale for granting this stay is puffery and “legalistic argle-bargle”

  put forward solely to prolong a blatantly unconstitutional regime. See United States

  v. Windsor, 570 U.S. 744, 799, 133 S. Ct. 2675, 2709 (2013) (Scalia, J., dissenting).

  The Defendant has completely failed to show a likelihood of irreparable harm. And

  thus, has failed to satisfy this prong of the stay test.

         3. The Balance of the Equities Favors the Plaintiffs
         The balance of hardships tips sharply in Plaintiffs’ favor. This factor considers

  “the balance of hardships between the parties.” Alliance for the Wild Rockies v.

  Cottrell, 632 F.3d 1127, 1137 (9th Cir. 2011). The Defendant “cannot suffer harm

  from an injunction that merely ends an unlawful practice or reads a statute as

  required to avoid constitutional concerns.” Rodriguez v. Robbins, 715 F.3d 1127,

  1145 (9th Cir. 2013); see Valle del Sol Inc. v. Whiting, 732 F.3d 1006, 1029 (9th Cir.

  2013) (“[I]t is clear that it would not be equitable . . . to allow the state . . . to violate

  the requirements of federal law.” (citations omitted)). And Judge Kay has found

  “whether issuance of the stay will substantially injure the other parties interested in

  the proceeding” is another way to formulate this prong. See Baker v Kealoha


                                               13
Case 1:19-cv-00578-JMS-RT Document 114-1 Filed 09/13/21 Page 19 of 25 PageID.1070



  [Docket #63, p.4]. There is no doubt that Plaintiff will suffer substantial harm if this

  stay is granted. As stated in Plaintiffs Verified Amended Complaint, and their

  Motion for Summary Judgment, Plaintiffs wish to purchase firearms, including

  handguns, in the future. See generally Verified Amended Complaint [Docket # 78,

  ¶¶ 50-77] and Motion for Summary Judgment [Docket # 85-1, pp.1-2]. Thus, they

  suffer ongoing violations of their constitutional rights if this Court grants a stay.

        The Defendant erroneously states that the Plaintiffs “suffer no harm by a stay

  at all.” Motion at p. 13 [PageID #1035]. As briefed above, these provisions were

  declared facially unconstitutional. Defendant never grapples with this, but instead

  just proclaims Plaintiffs were merely “inconvenienced” by having to take time off

  work and use their permits before they expired in ten days. Id. This position

  completely eviscerates the Court’s holding that the provisions are unconstitutional

  as the Defendant still considers them mere inconveniences instead of violations of

  constitutional rights.

        As to Defendant’s argument that Plaintiffs did not move for a preliminary

  injunction at the onset of litigation, this position finds no favor in the law and

  fundamentally misunderstands the litigation process.         Defendant cites to Lydo

  Enters. v. Las Vegas, 745 F.2d 1211 (9th Cir. 1984) for the proposition that “[a]

  delay in seeking a preliminary injunction is a factor to be considered in weighing the

  propriety of relief.” And that is true in seeking a preliminary injunction, a party


                                             14
Case 1:19-cv-00578-JMS-RT Document 114-1 Filed 09/13/21 Page 20 of 25 PageID.1071



  cannot sit on its hands and then complain to the court years later and demand

  immediate relief. Same for the Defendant’s other cited case, Oakland Tribune, Inc.

  v. Chronicle Pub. Co., 762 F.2d 1374 (9th Cir. 1985). These are both preliminary

  injunction appeals cases. They have no bearing on the instant case.

        If, under Defendant’s theory, a plaintiff must move for a preliminary

  injunction any time a statute is challenged on constitutional grounds, the courts

  would be swamped with pleadings, some of which take precedence on the docket

  over almost all other filings (see Fed. R. Civ. Pro. 65(b) (discussing Temporary

  Restraining Orders and expediting Preliminary Injunction hearings if granted).

        It would also contradict the Supreme Court’s admonition that “[a] preliminary

  injunction is an extraordinary remedy never awarded as of right”. Winter v. NRDC,

  Inc., 555 U.S. 7, 9, 129 S. Ct. 365, 367 (2008). Preliminary injunctions are not

  supposed to be filed to litigate the merits of a case. “The purpose of a preliminary

  injunction is merely to preserve the relative positions of the parties until a trial on

  the merits can be held.” Univ. of Tex. v. Camenisch, 451 U.S. 390, 395, 101 S. Ct.

  1830, 1834 (1981). It simply was not appropriate to seek a preliminary injunction in

  the instant case because the complained of conduct was already in effect at the onset

  of litigation. Plaintiffs worked as quickly as possible to resolve the merits of their

  claims by moving directly to summary judgment. A preliminary injunction would

  have actually delayed the resolution of the overall case because this Court would


                                            15
Case 1:19-cv-00578-JMS-RT Document 114-1 Filed 09/13/21 Page 21 of 25 PageID.1072



  have had to resolve the preliminary injunction before moving forward to the merits

  stage of the litigation. Defendant’s theory is obviously not the law. Just as a

  preliminary injunction is an extraordinary remedy, so is the stay which Defendant’s

  seek. Defendant’s rationale for wishing one does not meet this extraordinary

  standard. Rather it runs contrary to prior practice.

        In Parker v. District of Columbia, 311 F. Supp. 2d 103 (D.D.C. 2004), which

  is the case that later became the seminal Heller case in the United States Supreme

  Court, there is no mention of a filing of a preliminary injunction. In fact, Parker

  was dismissed because the district court rejected “the notion that there is an

  individual “right to bear arms separate and apart from service in the Militia…” Id.

  at 109. The D.C. Circuit Court reversed, finding that “Heller has standing to raise

  his § 1983 challenge to specific provisions of the District's gun control laws.”

  Parker v. District of Columbia, 375 U.S. App. D.C. 140, 148, 478 F.3d 370, 378

  (2007). Again, no mention of a preliminary injunction. And the reason why, is that

  a preliminary injunction is not a prerequisite to filing a lawsuit challenging a statute

  on constitutional grounds, and perhaps if there were a case that stood for that

  proposition, Defendant would have cited to it. “The purpose of a preliminary

  injunction is merely to preserve the relative positions of the parties until a trial on

  the merits can be held.” Univ. of Tex. v. Camenisch, 451 U.S. 390, 395, 101 S. Ct.

  1830, 1834 (1981).


                                            16
Case 1:19-cv-00578-JMS-RT Document 114-1 Filed 09/13/21 Page 22 of 25 PageID.1073



        “[T]he balance of the equities tips in Plaintiff's favor. Defendants have not

  offered any arguments to the contrary”. Fisher, 2012 U.S. Dist. LEXIS 90734, at

  *46. “"[I]t is clear that it would not be equitable or in the public's interest to allow

  the state . . . to violate the requirements of federal law, especially when there are no

  adequate remedies available." Ariz. Dream Act Coalition, 757 F.3d 1053, 2014 WL

  3029759, at *12 (quoting Valle del Sol, 732 F.3d at 1029).” Fotoudis v. City & Cty.

  of Honolulu, 54 F. Supp. 3d 1136, 1145 (D. Haw. 2014).

        4. The Public Interest Does Not Favor a Stay Pending Appeal
        When challenging government action that affects the exercise of

  constitutional rights, “[t]he public interest . . . tip[s] sharply in favor of enjoining

  the” law. Klein v. City of San Clemente, 584 F.3d 1196, 1208 (9th Cir. 2009). As the

  Ninth Circuit has made clear, “all citizens have a stake in upholding the

  Constitution” and have “concerns [that] are implicated when a constitutional right

  has been violated.” Preminger v. Principi, 422 F.3d 815, 826 (9th Cir. 2005). The

  public interest thus tips sharply in Plaintiffs’ favor. Klein, 584 F.3d at 1208.

        The Ninth Circuit has squarely addressed the “public interest” factor when

  dealing with constitutional rights, and in this case, it supports the Plaintiffs: “it is

  always in the public interest to prevent the violation of a party's constitutional

  rights.” Am. Bev. Ass'n v. City & Cty. of S.F., 916 F.3d 749, 758 (9th Cir. 2019).




                                            17
Case 1:19-cv-00578-JMS-RT Document 114-1 Filed 09/13/21 Page 23 of 25 PageID.1074



        Here, more specifically the public interest will be served because the County

  where Plaintiffs live are making access to HPD difficult due to Covid. Right now,

  only 40 people may visit HPD firearms department a day. “Beginning September 7,

  2021, the number of walk-in Permit-to-Acquire applicants on Tuesday and Thursday

  will be reduced to the first 40 people in line.”6,7 The Defendant may respond that it

  is not her fault that HPD limits this, but she bears responsibility in delaying the

  Judgment of this Court which will undeniably allow County police departments to

  allow for additional appointments because they will no longer have to conduct in-

  person registrations and will no long arbitrarily invalidate permits to acquire.

        Someone who wishes to get a permit to acquire or register a firearm must

  show up first thing in the morning to try and be part of the forty which are given

  numbers. See Declaration of Jon Abbott, Exhibit “1.” Getting a number can take

  multiple trips due to their scarcity. If and only if a person is lucky enough to get a

  number, they must wait until called to come back when called by HPD. Id. A person

  has no way of knowing when they will be called. Id. Therefore, a person that gets a


  6
    See
  https://www.honolulupd.org/information/firearms/?fbclid=IwAR0IdKT7JGdsyk5J
  U5Kf0hAGfVZIgxy9JP7kvK8aOs2VN6fpTvp9Ei3BDok (last visited 9/5/2021).
  7
    The Governor has even warned of moving to “extreme measures, lockdowns and
  potentially shutting businesses.” See
  https://www.hawaiinewsnow.com/2021/08/27/ige-says-extreme-measures-
  possible-if-covid-surge-
  worsens/?fbclid=IwAR35l734f4Tg2_mKfGgnuB2_s40z7tVEudZwmPfHNhJNzlA
  b9AyOjnHTcM0 (last visited 9/7/2021).
                                            18
Case 1:19-cv-00578-JMS-RT Document 114-1 Filed 09/13/21 Page 24 of 25 PageID.1075



  number must take all day off from work while hoping he will be called by HPD. Id.

  Denying the stay is in the public interest because this will lessen the traffic at HPD

  for reasons stated above. This will place less of a burden on both HPD and the public.

        “"[T]he public interest and the balance of the equities favor 'prevent[ing] the

  violation of a party's constitutional rights.” Fotoudis v. City & Cty. of Honolulu, 54

  F. Supp. 3d 1136, 1145 (D. Haw. 2014) (citation omitted). This Court should

  conclude “that it is in the public interest to uphold Plaintiff[s’] Constitutional right

  to bear arms in self-defense within the home, and accordingly finds that this factor

  weighs in favor of” denying the Defendant’s stay motion. Fisher v. Kealoha, 2012

  U.S. Dist. LEXIS 90734, *44, 2012 WL 2526923.

                                IV.    No Legislative “Fix”

        In Defendant’s correspondence to this Court on August 25, 2021, she

  represented that she wanted to discuss with the Court, among other things,

  “Defendant’s effort to seek amendment of the subject statutes in the Hawaii

  Legislature. [Docket #108]. In her Motion, Defendant simply states “there has not

  been time for the Legislature to enact statutes to replace those invalidated by the

  District Court…” Motion at p.11 [PageID #1033]. What are these efforts to seek

  amendment to the subject statutes? The Motion doesn’t say. And it is no secret that

  the Attorney General cannot mandate the Legislature adopt “fixes” to

  constitutionally infirm statutes. Previously this Court struck H.R.S. § 134-2’s ban on


                                            19
Case 1:19-cv-00578-JMS-RT Document 114-1 Filed 09/13/21 Page 25 of 25 PageID.1076



  green card holders and U.S. Nationals from owning firearms as violating the Second

  Amendment. See Fotoudis v. City & Cty. of Honolulu, 54 F. Supp. 3d 1136, 1145

  (D. Haw. 2014) and Alanoa Nickel v. Clare E. Connors, et al.,1:20-cv-00330-JMS-

  RT Doc. No. [77]. That offending provision of H.R.S. §134-2 is still on the books.

                                    V.    Conclusion

        This Court should deny the Defendant’s motion and allow Plaintiffs, as well

  as all the People of Hawaii, to exercise their rights free from the challenged

  unconstitutional laws.

              Dated: September 13, 2021


                                 /s/ Alan Alexander Beck
                                 Alan Alexander Beck

                                 /s/ Stephen D. Stamboulieh
                                 Stephen D. Stamboulieh
                                 *Admitted Pro Hac Vice

                                 Attorneys for Plaintiffs




                                          20
